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                UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT
                   CASE NO. 23-5795 and 23-6108


HONORABLE ORDER OF KENTUCKY COLONELS, INC.

                     Plaintiff-Appellee
v.

KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
FOUNDATION, INC.; UNKNOWN DEFENDANTS

                     Defendants

DAVID J. WRIGHT

                     Defendant-Appellant


              APPELLEE’S SUPPLEMENTAL MOTION
              TO DISMISS CONSOLIDATED APPEALS

      Plaintiff/Appellant, The Honorable Order of Kentucky Colonels, Inc.

(“HOKC”), by counsel, hereby tenders the following supplement to its Motion

to Dismiss Appeal filed March 14, 2024 [Doc. 19]. In addition to the reasons

stated therein, HOKC states that Defendant/Appellant, David J. Wright, has

continuously refused to comply with the District Court’s orders regarding

post-judgment discovery and, therefore, is in contempt of those orders. As a

result, Wright’s consolidated appeals should be dismissed.
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                              BACKGROUND 1

      Appellant, David J. Wright, has a well documented history of refusing

to comply with court orders. Indeed, this appeal involves Wright’s contempt

of an Agreed Permanent Injunction entered by the District Court on February

23, 2021 [DE 93]. The District Court found that Wright knowingly and

intentionally violated that injunction and ordered him to pay both

compensatory damages and attorneys’ fees relating to HOKC’s prosecution

of the contempt motion. [See 8/9/23 Memorandum Opinion and Order [DE

129] and 11/13/23 Memorandum Opinion and Order [DE 138]].

Notwithstanding the imposition of financial sanctions, Wright continued to

violate the injunction through most of 2023. [See Affidavit of Counsel

attached hereto as Exhibit 1, ¶ 3].

      During the pendency of this appeal, Wright has continued to ignore the

District Court’s directives by, most recently, refusing to appear for an asset

discovery deposition. On July 31, 2024, the District Court ordered Wright to

provide dates for an asset discovery deposition and appear for such a

deposition within thirty (30) days of the date of the order.         [7/31/24

Memorandum Opinion and Order [DE 158], PageID #4008]. In addition, the


1
 HOKC hereby adopts and incorporates herein by reference the background
offered in its original Motion to Dismiss Appeal [Doc. 19].


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District Court awarded HOKC’s attorneys’ fees incurred in tendering the

motion to compel Wright’s appearance. [Id. at PageID #4009].

      By correspondence dated August 12, 2024, Wright advised counsel for

HOKC that he does not intend to comply with the Court’s order. [See

Affidavit of Counsel, ¶ 4]. Thus, Wright once again refuses to comply with

the orders of the District Court. Wright’s most recent contemptuous conduct

should result in dismissal of the instant consolidated appeal.

                                ARGUMENT

      The power to punish for contempt is inherent in all courts. Chambers

v. Nasco, Inc., 501 U.S. 32, 44 (1991). Absent the ability to hold a party in

contempt for willful violations of court orders, a court is made “impotent, and

what the Constitution now fittingly calls the ‘judicial power of the United

States’ would be a mere mockery.” United States v. Mine Workers of

America, 330 U.S. 258, 290 n. 56 (1947) (internal citation omitted). A court’s

contempt power is “one weapon in its arsenal” that may be deployed to

enforce its orders. Elec. Workers’ Pension Tr. Fund of Loc. Union No. 58,

IBEW v. Gary’s Elec. Serv. Co., 340 F.3d 373, 378 (6th Cir. 2003).

      Here, the imposing fines or financial sanctions on Wright, a pro se

litigant, clearly has no impact. The District Court has awarded HOKC

monetary sanctions twice and neither award has deterred Wright’s



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contemptuous conduct. [See 11/13/23 Memorandum Opinion and Order [DE

138] and 7/31/24 Memorandum Opinion & Order [DE 158]]. Because he is,

allegedly, a resident of Venezuela, the Court’s ability to impose meaningful

sanctions on Wright is limited. The only meaningful sanction available to the

Court is dismissal of the instant appeals. That sanction should, and must, be

imposed for Wright’s repeated and continuing contemptuous conduct.

                              CONCLUSION
      For the reasons stated herein and in its original Motion to Dismiss

Appeal, HOKC respectfully requests the Court dismiss the instant appeals.



                                      Respectfully submitted,

                                      /s/ Cornelius E. Coryell II
                                      Cornelius E. Coryell II
                                      Julie Laemmle Watts
                                      WYATT, TARRANT & COMBS, LLP
                                      400 West Market Street, Suite 2000
                                      Louisville, Kentucky 40202
                                      (502) 589-5235
                                      ccoryell@wyattfirm.com
                                      jwatts@wyattfirm.com

                                      Counsel for Plaintiff/Appellee, the
                                      Honorable Order of Kentucky Colonels, Inc.




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                       CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing has been
served upon the following, by U.S. mail and/or electronic mail, on this the 15th
day of August, 2024:

 David J. Wright
 302 General Smith Drive
 Richmond, KY 40475
 David.wright@globcal.net


                                       /s/ Cornelius E. Coryell II

                                       Counsel for Plaintiff/Appellee the
                                       Honorable Order of Kentucky
                                       Colonels, Inc.
101722297.1




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                   EXHIBIT 1
 TO SUPPLEMENTAL MOTION TO
DISMISS CONSOLIDATED APPEALS
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                 UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT
                    CASE NO. 23-5795 and 23-6108


HONORABLE ORDER OF KENTUCKY COLONELS, INC.

                   Plaintiff-Appellee
v.

KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
FOUNDATION, INC.; UNKNOWN DEFENDANTS

                    Defendants

DAVID J. WRIGHT

                    Defendant-Appellant


                        AFFIDAVIT OF COUNSEL

      Affiant, Cornelius E. Coryell, being first duly sworn, deposes and states

as follows:

      1.      I am currently counsel of record for the Appellee in the instant

action, The Honorable Order of Kentucky Colonels, Inc. ("HOKC").

      2.      I have personal knowledge of the matters set forth herein and I

am authorized to make this Affidavit.

      3.      On October 11, 2023, counsel for HOKC forwarded the attached

correspondence to Defendant/Appellant David J. Wright ("Wright")

requesting he cease and desist activities which violated the Agreed Permanent
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Injunction entered by the United States District Court for the Western District

of Kentucky on February 23, 2021. On October 18, 2023, Wright responded

to that demand refusing to honor the request to cease and desist.

         4.    On   August    12,   2024,     Wright    forwarded       the   attached

correspondence indicating that he did not intend to comply with the Court's

order that he provide deposition dates during the month of August 2024 and

appear for an asset discovery deposition.          Wright has not modified or

withdrawn his refusal to comply with the Court's order as reflected in that

correspondence.

         Further Affiant sayeth naught.


                                                        Coryell


 COMMONWEALTH OF KENTUCKY )
                          ) :SS
 COUNTY OF JEFFERSON

      The foregoing instrument was acknowledged before me this                 1V"
day of August, 2024, by Cornelius E. Coryell.

         My commission expires: ai Iii 19               19          .


                                          Notary

                                          Notary I.D.    )<-j N P r C(0
101723482.1




                                          2
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                        WYATT, TARRANT & COMBS, LLP                                                     Julie Laemnnle Watts


 WYATT                  400 West Market Street, Suite 2000
                        Louisville, KY 40202
                        502.589.5235
                                                                                                                502.562.7130
                                                                                                      jwatts@wyattfirm coils

                        wyattfirm.corn




                                                             October 11, 2023

       VIA EMAIL

       David J. Wright
       302 General Smith Drive
       Richmond, KY 40475
       david.wright@globcal.net

              Re:      Violation of Permanent Injunction and Continued Trademark Infringement

       Dear Mr. Wright,

       It has come to our attention that you, or someone acting on your behalf, is again in violation
       of the Agreed Permanent Injunction entered by the Court on February 23, 2021 for the
       lawsuit filed by The Honorable Order of Kentucky Colonels ("HOKC") against you, the now
       defunct Kentucky Colonels International, Globcal International, Ecology Crossroads
       Cooperative Foundation, Inc., and Unknown Defendants (collectively, "Defendants") for the
       enforcement of HOKC's intellectual property rights.

       According to the Agreed Permanent Injunction, you, along with the other Defendants and
       anyone acting on your or their behalf, including any other owners, members, officers, agents,
       servants, employees, attorneys, and any other person in active concert or participation with
       Defendants, were permanently enjoined and prohibited from:

                    1. using the KENTUCKY COLONELS Mark, or any mark that is confusingly similar
                       to the KENTUCKY COLONELS Mark, on or in connection with sale of any goods
                       or services including, but not limited to, the solicitation of charitable donations
                       and the promotion of charitable and philanthropic causes;

                    2. using the KENTUCKY COLONELS Mark, or any mark confusingly similar to the
                       KENTUCKY COLONELS Mark, on any website, social media page, or blog in
                       such a way as is likely to cause consumers to be confused, mistaken, or
                       deceived into believing that HOKC has sponsored, sanctioned, approved,
                       licensed, or is any way affiliated with Defendants or any organization or cause
                       sponsored or supported by Defendants;

                    3. using the domain names [kycolonels.international], [kentucky.colonels.net],
                       or any other domain name that is confusingly similar to [kycolonels.org] or
                       any domain name that incorporates the KENTUCKY COLONELS Mark, or any
                       mark that is confusingly similar to the KENTUCKY COLONELS Mark; and

                    4. using Facebook or any other social media platform username or handle that is
                       confusingly similar to the trademark KENTUCKY COLONELS for the purposes



ATTORNEYS AT LAW
                                                                                                                 TAW
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            David J. Wright
            October 11, 2023
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                                of forming a membership organization, a civil society association or other non-
                                commercial activity such as an event or charitable fundraising endeavor

           Despite the Court's August 9, 2023 Memorandum Opinion and Order holding Defendants in
           contempt of the Agreed Permanent Injunction, requiring Defendants to abide by the Agreed
           Permanent Injunction, and ordering Defendants to cease use of the KENTUCKY COLONELS
           trademark and pay compensatory sanctions for failure to abide by the Agreed Permanent
           Injunction, you, either alone or with the assistance of others, including those involved with
           Defendants, continue to blatantly disregard the Agreed Permanent Injunction and HOKC's
           intellectual property rights.

           Specifically, HOKC is aware of the continued use of the KENTUCKY COLONEL Facebook page
           that you, either alone or in concert with Defendants and others, continue to run, with a recent
           solicitation of $25 donations for inclusion on a "KENTUCKY COLONEL LIST" of the "1,000
           most important Kentucky Colonels - Founders and Model Figures" to help "fund a new start
           for our Kentucky Colonel Society" (emphasis added). Screenshots of the post are copied
           below.


                     8:16
                                                                             8:17

                            Kentucky Colonel's post
                                                                                    Kentucky Colonel's post

                       Kentucky Colonel Club
                  Vi!) Kentucky Colonel 8h fa                             Your name or the name of a friend or
                  KENTUCKY COLONEL LIST! 1 IN 1,000                       both can appear on the same page
                                                                          listing as one the 439 most affluent
                  As an alternative to consumer or                        people in history that are known to
                  regular membership in Kentucky                          be Kentucky colonels, the list will be
                  International, our well-known                           considered full once 1,000 persons
                  website Kentucky Colonelcy needs                        are listed for the print edition of the
                  donations from @everyone, so we                         book, planned for 2025, when the
                  are permanently listing (publishing)                    Colonel becomes 250 years old.
                  the 1,000 most important Kentucky
                  Colonels - Founders and Model                           https://kycolonelcy.us/kentucky-
                  Figures on our website, the list is                     colonel-list
                  visited frequently and you can be
                                                                          Now for just a $25 donation will get
                  one!
                                                                          your name permanently added to
                  Your name or the name of a friend or                    this exemplar KENTUCKY COLONEL
                  both can appear on the same page                        LIST, contribute to website
                  listing as one the 439 most affluent                    maintenance and support our
                  people in history that are known to                     cooperative publishing endeavor.
                  be Kentucky colonels, the list will be                  Add your name to the list now, help
                  considered full once 1,000 persons                      us fund a new start for our Kentucky
                                                                          Colonel Society.
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            David J. Wright
            October 11, 2023
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            Further, HOKC is aware of the continued efforts by you, either alone or in concert with
            Defendants and others, to create ID cards as well as maintain a website and Facebook groups
            in direct violation of the Agreed Permanent Injunction and HOKC's valuable intellectual
            property rights. A screenshot of a comment from Kentucky International to Kentucky
            Colonel's Facebook post is below:

                                            8:17

                                                    Kentucky Colonel's post     •••

                                          Top comments

                                                   Kentucky International -
                                                   Follow
                                                   Admin
                                                   All the group members,
                                                   @everyone should be
                                                   happy with the
                                                   Transylvania Company
                                                   objectives with a strong
                                                   focus on the founding of
                                                   Kentucky in
                                                   Boonesborough and the
                                                   250th anniversary in
                                                   2025! The important
                                                   things to the Kentucky
                                                   Colonel is the ID Card, the
                                                   Kentucky Colonel List, the
                                                   Website and the Facebook
                                                   groups.
                                                   3h Like     Reply




            HOKC hereby demands that you immediately cease and desist from your unlawful activities
            in violation of the Court's Injunction and HOKC's intellectual property rights. HOKC further
            demands that you provide written assurances of your compliance with this demand by no
            later than seven (7) days after your receipt of same. HOKC will continue to monitor your
            activities. Should you fail to terminate your improper conduct, HOKC will take action to
            enforce its rights, including but not limited to brining this matter back in front of the Court.

            The above is not an exhaustive statement of all of the relevant facts and law. HOKC expressly
            reserves all of its legal and equitable rights and remedies, including the right to seek further
            injunctive relief and recover monetary damages.

            You or your attorney may contact me should you have any questions. I look forward to
            receiving your response within seven (7) days.
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            David J. Wright
            October 11, 2023
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                                                   Sincerely

                                                   WYATT, TARRANT & COMBS, LLP
                                                               cufry-wyr\lo 'DV atto

                                                   Julie Laemmle Watts

            JLW/
            cc:  The Honorable Order of Kentucky Colonels
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Coryell, Corky

From:                               David Wright <david.wright@globcal.net>
Sent:                               Monday, August 12, 2024 3:19 PM
To:                                 Coryell, Corky
Cc:                                 Sherry Crose; Watts, Julie
Subject:                            Re: [DAVID WRIGHT] [&] RE: HOKC v Wright




CAUTION: This email originated from outside of the Firm. Do not click links or open attachments unless you know the sender and
were expecting this message.




Mr. Coryell,

You should celebrate that you have eliminated a charitable nonprofit organization on July 01 from
Kentucky and won your dismissal motion in case 24-5511 last week. All of my assets have been
disclosed to the Sixth Circuit Court of Appeals. Recently, Ecology Crossroads suspended its operations
and Globcal International which is no longer part of Ecology Crossroads released all of my intellectual
property to me including all my copyrights and Internet domains as the creator and developer (those
are my assets). My only other asset is Ekobius which is a property located in Venezuela that is on
hold until the government changes there.

I will not be deposed at this particular time Mr. Coryell unless instructed to do so by the United States
Circuit Court of Appeals because the judgment rendered by Judge Jennings was clearly erroneous
quoting the "preliminary injunction" in place of the "permanent injunction" in the August 9, 2023
Memorandum Opinion, a decision that was clearly tainted and judicially biased without the equity
guaranteed to me in the settlement conference. I seriously doubt the Judge ever took the time to
review the settlement record. The matters of 23-5795 and 23-6108 are no longer within the
jurisdiction of Judge Jennings, neither is the Permanent Injunction or the Agreed Dismissal of 2021.

My websites, my right to free speech, my social media accounts, do not and have not infringed on
any of your client's rights, they will not be taken down by the court. They will continue to grow and
continue to be viewed 50,000 times per year. No colonel is under any dutiful obligation to take heed
of your client! Further they are only supported by 10% of all colonels. The only confusion is your own
mental image in believing your client was the first, only, or original "Kentucky Colonels". Your
fraudulent concealment of known factual information about other organizations, my intent in 2017-
2019 with Sherry Crose when we discussed the registry concept, my website from 1998-2001, and
your misleading attack on my civil rights as a use of your trademark must be considered by the
courts before this matter is resolved.

While I admit, I have lots of incomplete and jumbled work online; it will not be sacrificed based on
any US Court Order. Since this matter began I have diligently researched everything there is to know
about your client's history and the longer history of the Kentucky Colonelcy from days past.

Your client's organization was created by a seated governor based on his erroneous self-guided
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conceptual misinterpretation of the Kentucky Colonelcy and as a vacated military order (the
honorable order). Your client has built upon that error since 1933, not 1931 or 1932. If your client is
interested in purchasing my rights, copyrights, publishing rights, my research of 2,300 references
prior to 1933, and storytelling rights you are welcome to based on the actual value as a content
asset. The Honorable Order of Kentucky Colonels has underestimated the value of my work and the
assistance I offered once free as a member. I guarantee all of my work is worth what Sherry Crose
and you have been paid since this matter began.

Thank you and best regards,

Col. David J. Wright
Goodwill Ambassador and Kentucky Colonel

Creative Works and Engagements
Kentucky Colonelcy:: Authentic History of the Kentucky Colonel
Indigenous Chocolate: Origin of Theobroma Cacao (Theobromatology)

Voice: (+1) 859-379-8277
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On Mon, Aug 12, 2024 at 10:20 AM Coryell, Corky <ccorvell@wvattfirm.com> wrote:




          From: Coryell, Corky
          Sent: Monday, August 12, 2024 8:53 AM
          To: David Wright <david.wright@globcal.net>
          Cc: Watts, Julie <jwatts@wyattfirm.com>
          Subject: RE: HOKC v Wright




          Mr. Wright,




          Today is the deadline established by the Court for you to provide dates for an asset discovery deposition.




                                                                  2
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Please provide some dates as you were directed by the Court.




Cornelius E Coryell

Wyatt, Tarrant & Combs, LLP
400 West Market Street
Suite 2000
Louisville KY 40202-2898
Direct: (502) 562-7376
Mobile: (502) 594-0832
Email: ccoryell@,wyattfirm.com




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         From: Coryell, Corky
         Sent: Thursday, August 01, 2024 1:23 PM
         To: David Wright <david.wright@globcal.net>
         Cc: Watts, Julie <Iwatts@wyattfirm.com>
         Subject: HOKC v Wright




         Mr. Wright,




         The attached was just filed.

         Cornelius E Coryell

         Wyatt, Tarrant & Combs, LLP
         400 West Market Street
         Suite 2000
         Louisville KY 40202-2898
         Direct: (502) 562-7376
         Mobile: (502) 594-0832
         Email: ccolyell wvattfirm.com




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                        From: David Wright <david.wright@globcal.net>
                        Sent: Tuesday, July 02, 2024 9:14 AM
                        To: Coryell, Corky <ccoryell@wyattfirm.com>
                        Subject: Administrative Dissolution




                        CAUTION: This,email originated from outside of the Firm. Do not click links or open attachments unless
                        you know the sender and were expecting this message.




                        Due to the lawsuit and the appeal this was executed yesterday.

                        Thank you and best regards,



                        Col. David J. Wright

                        Goodwill Ambassador, Kentucky Colonel, Conservationist




                        Creative Works and Engagements


                        Ecology Crossroads Cooperative Foundation



                        Business Phone: (+1) 859-379-8277


                        Cellular: (+57) 322-436-2741




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